[1] This case involves the same questions of law and fact as those presented in the cases of Kiku Saito v. Policy HoldersLife Insurance Assn., ante, p. 412 [22 P.2d 724], andTodome Arao v. Policy Holders Life Insurance Assn., ante, p. 785 [22 P.2d 726], this day decided by this court, save and except the name of the plaintiff and the dates of the transactions involved, and the further exception that the complaint in this case does not set out a copy of the policy of insurance, and the application therefor, signed by the insured, showing his address to be in San Joaquin County, nor that the policy of insurance was executed in San Joaquin County, as does the complaint in each of those cases. And, on authority of those cases and the cases relied upon and cited by us in those cases, the order appealed from is affirmed.
Thompson, J., and Pullen, P.J., concurred.
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